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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 THE STATE OF TEXAS, et al,              §
                                         §
                                         §
        Plaintiffs,                      §
                                         §
 v.                                      §          Civil Action No. 4:20-cv-00957-SDJ
                                         §
 GOOGLE LLC,                             §
                                         §
                                         §
        Defendant.                       §



      DEFENDANT GOOGLE LLC’S REDACTED OPPOSITION TO PLAINTIFFS’
        MOTION FOR IN CAMERA REVIEW AND SUPPORTING MATERIALS

       Pursuant to its Motion to Seal filed on February 11, 2025 (ECF No. 800), Defendant

Google LLC (“Google”) respectfully submits a redacted version of its Opposition to Plaintiffs’

Motion for In Camera Review (ECF No. 801), with all attached exhibits, which were filed under

seal on February 11, 2025.

Dated: February 18, 2025                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on February 18, 2025, this document was filed electronically in compliance
with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per
Local Rule CV-5(a)(3)(A).

                                                           /s/ Eric Mahr




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